It is plain from the statute (Rev. Laws, sec. 5015) that if a litigant in a cause has reason to believe that an impartial trial cannot be had within the forum in which the parties are in trial, then the court may, on motion, change the place of trial. It seems also plain that such a motion need not necessarily be made before the trial or at the inception thereof or at any particular stage of the proceedings.
Stats. 1913, p. 113, provide, among other things, that an order changing, or refusing to change, the place of trial is an appealable order. And, therefore, if, as the record in this case shows, an appeal has already been taken, then certainly the appellant is entitled to a full, fair and adequate consideration and determination of her said appeal. 3 C.J. 319, sec. 33; 3 C.J. 1279; *Page 381 
Pierson v. McCahill, 23 Cal. 249; Ricketson v. Compton, 23 Cal. 636,649; Davis v. Spieden, 10 D.C. 283; Simpson v. Com., 104 S.W. 269; Hale  Norcross Silver Min. Co. et al. v. Fox et al., 54 P. 270.
In the matter at bar the only question involved is as to whether the petitioner shall be granted her statutory right of a stay of proceeding until she shall have perfected and submitted her appeal and had it determined. All other questions are involved within the appeal proper and should be considered upon the merits of the appeal. Giannopulos v. Chachas, 50 Nev. 269.
The Fourteenth Amendment to the United States Constitution, and sec. 8, art. 1, Nevada constitution, are guaranties that no person shall be deprived of life, liberty, or property, without due process of law. The Fourteenth Amendment to the United States Constitution is a prohibition on all state agencies and a guaranty that no law and no court decision in any state shall be upheld where its effect would be to deny due process. The due process guaranties in the state constitution are self-executing and need no legislative aid to put them into effect.
In giving effect to rights secured by organic law, courts should consider the substance of things and should not be controlled by mere matters of form or of technical procedure. Haynes v. State (Fla.), 72 So. 180.
The fact that the Nevada constitution does not contain an express declaration guaranteeing in so many words that justice would be administered without sale, denial, prejudice, etc., is immaterial. The very preamble to the federal constitution adopted in 1787 provides that among the purposes of its adoption was to "establish justice." To have justice administered impartially, without prejudice, etc., was an existing right of the people of Nevada, based on the genius and spirit of our government and institutions, and the Nevada constitution, article 1, sec. 20, provides: "This enumeration of rights shall not be construed to impair or deny others retained by the people." *Page 382 
Remedies for prohibited evils need not be provided for by any express language in the written law. Dodson v. McCurnin (Ia.), 160 N.W. 927; L.R.A. 1917C, pp. 1085-1087.
The laws guarantee a fair and impartial trial, and the obligation to protect these rights devolves upon the courts and no court when called upon to act can shirk or evade the responsibility cast upon it by law. Wilson v. State (Neb.),128 N.W. 38-42; Kentucky Journal Co. v. Caines (Ky.), 110 S.W. 268.
"Due course of law" means a fair trial. Hanson v. Krehbiel (Kan.), 75 P. 1041.
"Due process of law" requirement is for impartial tribunals, as primal necessity, such as protecting jury box against prejudiced jurors, and providing for change of venue for prejudice of judge. Commrs. v. Smith (Ill.), 84 N.E. 376; 16 L.R.A. (N.S.) 292-295.
The state has full control over the procedure in its courts, subject only to the qualification that such procedure must not work a denial of fundamental rights. Brown v. New Jersey,175 U.S. 175, 44 L.Ed. 119.
The constitutional provisions relative to "due process" according to the "law of the land," etc., are but different modes of expressing the fundamental right of man to a fair and impartial trial. Ex Parte Nelson (Mo.), 157 S.W. 794. See, also, Tumey v. Ohio, 273 U.S. 509, 71 L.Ed. 749.
Had it been the intent of our legislature to limit the guaranty of an impartial trial to only cases where a jury was actually called, and to apply the test of impartiality only to jurors, the legislature could have easily expressed such intent by adding but one word, making the statute read: "When there is reason to believe that an impartial jury trial cannot be had."
The word "trial" is not limited to cases where a jury may be in attendance. Every judicial examination of an issue between parties, whether the issues be of law or fact, is a "trial." 38 Cyc. 1267.
The word "trial" is of very broad and comprehensive meaning. The hearing of a motion for a new trial is *Page 383 
a "trial." Keating v. Keating (Cal.), 147 P. 974; Finn v. Spagnoli (Cal.), 7 P. 746. These cases are also to the effect that such hearings are "trials" on which a motion for change of venue will lie for bias and prejudice of the judge. See, also, Tregambo v. Commance Mng., 57 Cal. 501; Watts v. Billings etc. Co. (Mont.), 253 P. 260; Goldtree v. Spreckels (Cal.),67 P. 1091.
We contend, therefore, that the "impartial trial" provided for and guaranteed by Rev. Laws of Nev., sec. 5015, refers to trials according to the well understood and well settled meaning of the word "trial," i.e., whether with or without a jury.
The Oklahoma constitution provided that justice should be administered without prejudice. There was no statute disqualifying a judge upon that ground, but the supreme court held that a change of venue was nevertheless necessary, and said: "The legislature, neither by neglect to act nor by legislation, can nullify a mandatory provision of the constitution, for it cannot be maintained that a judge who is biased or prejudiced in a case on trial before him can administer justice without prejudice." Ex Parte Ellis, 105 P. 184-187.
Admittedly the aim of the statute is to secure to the litigant an impartial trial. "Impartiality" is defined as freedom from bias, prejudice, passion, etc. 31 C.J. 253; 4 Words and Phr. 3418. "Impartial" is defined as unprejudiced.
"Prejudice" is defined as prejudging, preconceived opinion, bias, leaning toward one side of the question from outside considerations, a bias on the part of the judge which interferes with fairness of judgment. 6 Words and Phr. 5501; Webster's Dict.; 31 Cyc. 1161.
The guaranty of an impartial trial, therefore, is exactly the same as a guaranty of a trial without prejudice.
See Day v. Day (Idaho), 86 P. 531, 533, 535; Bell v. Bell (Idaho), 111 P. 1074; State v. Brown, 103 P. 762-767; Ex Parte Ellis, 105 P. 185; Rea v. State, 105 P. 384-385; Ex Parte Owens, 258 P. 759; State v. Martin, 256 P. 681, 690, 691; Dennison v. Christopher, *Page 384 200 P. 783; Mosus v. Julian (N.H.), 84 Am. Dec. 114, 115, 118, 121, 122; United States v. Yount (D.C. Pa.), 267 Fed. 861-863; Stahl v. Board of Supervisors (Ia.), 175 N.W. 772, 11 A.L.R. 185-191; State v. Board of Education (Wash.), 52 P. 317, 40 L.R.A. 320, 67 Am. St. Rep. 706, 713, 714; 15 R.C.L. 539, sec. 27.
Allen v. Reilly, 15 Nev. 452, when analyzed is no authority against petitioner's contention here. True, a motion was there made by defendant for change of venue on the ground he could not have a fair and impartial trial before the trial judge, because he and defendant were bitter personal enemies. The motion was supported by defendant's affidavit setting out those facts, which were denied by the judge. In the instant case there is no denial by the trial judge of the facts and no denial of the bias and prejudice. Further, the Allen v. Reilly case was an action at law, where defendant not only had the absolute right to a trial by jury, but a jury actually attended and brought in a verdict. This court stressed the point that in such cases, where a right to a jury trial is obtainable, the bias of the judge is not important, saying: "This is especially true when a jury finds the facts." How different in a case such as the instant case, where no jury can be had, and the judge is the sole trier of the facts, as well as the law. See, also, Eureka Bank Cases, 35 Nev. 80, 146
to 150; 126 P. 655-677.
Where, as in the instant case, there is no jury to find the facts, where the judge against whom the prejudice is established is the trier of the facts, whose finding upon the facts where the evidence is conflicting is practically binding and conclusive and hence his errors as to such findings of fact may not "be corrected on appeal," we submit the language of this court in the Eureka Bank Cases, supra, is tantamount to holding that actual prejudice of such trial judge is cause for a change of venue or a change of judge.
We freely concede that the authorities are by no means in harmony upon the point that bias and prejudice based upon animosity of a judge towards, or friendship for, a *Page 385 
litigant was at common law a ground for recusing such judge. But if such prejudice or bias of a judge were, at common law, sufficient to recuse, then it is a ground in Nevada for a change of venue or change of judge, because Rev. Laws, sec. 5447, provides that the common law so far as not repugnant to or in conflict with our constitution or laws shall be the rule of decision in all courts of this state. In support of the proposition that bias and prejudice of a judge arising from ill feeling, etc., was ground at common law for recusing such judge, we cite Allan v. Allan (Ariz.), 185 P. 539-541; Oakley v. Aspinwall, 3 N.Y. 547; Massie v. Com. (Ky.), 20 S.W. 704; Bryce v. Burke (Ala.), 55 So. 635; Moses v. Julian (N.H.), 84 Am. Dec. 114; Conklin v. Crosby (Ariz.), 239 P. 506; 15 R.C.L. 539, sec. 27; Ex Parte Cornwell (Ala.), 39 So. 354.
The English courts consistently hold that a judge must not sit where bias or prejudice is shown because of friendship or personal animosity between judge and party. Queen v. Meyer, 1 Q.B.D. 173 (1875); Regina v. Rand L.R., 1 Q.B. 230 (1866); Queen v. Farrant, 20 Q.B.D. 58 (1887); Frome United Breweries Co. v. Bath, A.C. 586 (1926); King v. Sussex Justices, 1 K.B. 256 (1924).
In this case there is no disqualification, and the change of venue statute is not applicable.
Whether a judge is disqualified or not depends upon the statute of the particular state. 33 C.J. 989.
Legislation on the subject in Nevada, as well as the decision of the Supreme Court of Nevada, both show conclusively as a matter of law that a trial judge is not disqualified for bias or prejudice.
The statutes of this state do not make bias and prejudice on the part of a trial judge grounds for disqualification. And at a time when the statutes of this state were in the same condition as now exists, to wit, without any express enactment disqualifying a judge for bias *Page 386 
or prejudice, the supreme court of this state, in the case of Allen v. Reilly, 15 Nev. 452, held that bias and prejudice were not grounds for disqualification.
Even if bias and prejudice had been express statutory grounds for disqualification, the motion and affidavit of the defendant would not have been sufficient for that purpose. Table Mountain Mining Co. v. Wallers Defeat Co., 4 Nev. 218; 31 C.J. 1001; Boreing v. Wilson, 128 Ky. 570-590, 108 S.W. 914, 33 Ky. L. 14.
From the enactments on change of venue, it will be observed that in 1895 the legislature passed an act providing for the disqualification of judges for bias and prejudice, and that this act was repealed at the next session of the legislature in 1897. It will further be observed that when this legislation was enacted the grounds of bias and prejudice were incorporated in the change of venue statute and not in the act relating to the disqualification of judges. When this was repealed by the legislature it was a clear indication of the legislative policy of this state that it was the intention of the legislature that bias and prejudice on the part of a trial judge should not be a ground for change of venue.
The result, therefore, is plain and unmistakable that in this state bias and prejudice are not grounds either for disqualification of a judge or change of venue. This is clearly demonstrated (a) in the decision of this court in Allen v. Reilly, supra, (b) from such grounds not being set forth in the statute on disqualification of judges, and (c) by reason of the fact that this ground was in 1895 expressly included in the change of venue statute and expressly repealed in 1897, the entire subdivision fourth of the statute, touching on the disqualification of judges, being eliminated and not included at all in the existing enactment.
Statutes of Nevada, 1913, p. 113, and sub. 4 thereof, refers only to a "change of place of trial." This is a separate and distinct matter from the disqualification of a judge, which is covered by Stats. 1927, p. 108. No stay is provided in case a judge refuses to disqualify *Page 387 
himself, and that error must be reached on appeal from the official judgment.
Furthermore, we contend that the present hearing is not a trial. Trial within the contemplation of the statute means the proceedings from the filing of the complaint to the entry of judgment. The word does not mean new trial and it does not mean motions for orders made after judgment. Stewart v. Stewart, 62 N.E. 1023; McDermott v. Hallick, 69 P. 335, at 337. Also compare the code provisions, set forth and referred to in the latter case, with our code provisions relative to motions and orders, Rev. Laws, secs. 5362-5366.
Inasmuch as the trial court had discretion to determine whether the motion was made in time, a writ of prohibition should not issue. Wolcott v. Wells, 21 Nev. 47, 24 P. 367, 37 Am. St. Rep. 478, 9 L.R.A. 59; Arrascada v. District Court, 44 Nev. 37,189 P. 621; Metcalfe v. District Court, 51 Nev. 253, 274 P. 5; 33 C.J. 1013; 22 R.C.L. 24.
                                 OPINION
This is an original proceeding in prohibition. The proceeding is the outgrowth of a very bitter contest between divorced parents over the custody of the only issue of their marriage, a child of tender years.
Upon the filing of the petition for the writ with the clerk of this court, the respondents, through their attorneys, requested that the writ be not issued until they were given an opportunity to be heard. The request was granted. Thereafter, the application or petition for the writ came on for hearing informally in open court. Upon consideration of the arguments, an order was made directing an alternative writ to issue and that the respondents show cause before this court on the day fixed in the order why the writ should not be made absolute. On the day fixed for return, the respondents appeared and filed an answer to the petition and, in *Page 388 
addition thereto, filed a full and complete transcript of the proceedings had in the matter to be reviewed and determined. Thereupon the question of making the writ absolute was fully argued and submitted for decision upon the petition, answer, and return and upon extended briefs.
The facts, omitting details, are substantially as follows:
In 1926 Ralph Elsman filed a suit in the respondent court against Beatrice Elsman, his wife, for divorce. On January 4, 1927, Beatrice Elsman was granted a divorce from Ralph Elsman, the plaintiff, upon her answer and cross — complaint. By the terms of the decree the sole care, custody, and control of the minor child of the parties, Ralph Elsman, Jr., was awarded to the plaintiff, the father, subject to the right of the defendant and cross-complainant, the mother, to have the possession of the child in Washoe County, Nevada, and not elsewhere, at the times and places specified in detail in the decree of divorce, not material to be stated here.
By the terms of the decree, jurisdiction was expressly reserved to the court to modify that portion of the decree and order with respect to the custody and possession of the child, Ralph Elsman, Jr., for cause.
Shortly after divorce, Ralph Elsman intermarried with Florence Diehl Elsman and they are now husband and wife.
On March 31, 1928, Ralph Elsman filed in the case entitled Ralph Elsman, Plaintiff, v. Beatrice Elsman, Defendant, a notice of motion and motion to change, modify, and amend that portion of the decree rendered and entered therein relative to the custody and possession of Ralph Elsman, Jr. On May 2, 1928, the respondent judge, Hon. George A. Bartlett, who presided in the divorce action, made and caused to be entered an order changing and modifying the decree so as to read substantially as follows: "That the sole care, custody and control of the minor child, of the parties, Ralph Elsman, Jr., is hereby awarded to the *Page 389 
plaintiff, and that he continue to have the same so long as the best interests of said minor child are subserved thereby. That during the time that said child is in the sole care, custody and control of the plaintiff and within the County of Washoe, State of Nevada, the defendant may visit the said child at the home of the plaintiff at Franktown, Washoe County, Nevada, and not elsewhere, unless otherwise mutually agreed by and between the plaintiff and the defendant, during one hour of each day of one calendar month in each and every year, said month to be designated by the defendant and thirty days' notice thereof given to the plaintiff; and that the above entitled court may, if necessary, reasonable and proper on application, require the plaintiff to have the said minor child in Washoe County, Nevada, during said period of one calendar month in each and every year."
Thereafter, on November 4, 1929, Ralph Elsman filed in said court and cause a notice of motion and motion for a further change of the decree so as to read as follows: "That the sole care, custody and control of the minor child of the parties, Ralph Elsman, Jr., is hereby awarded jointly to the plaintiff and to his wife, Florence Diehl Elsman, and to the survivor of them; subject to the further order of the Court."
Thereafter, Beatrice Elsman entered her appearance and filed her reply in defense, and on February 4, 1930, filed in said court and cause a notice of motion and motion asking that the decree of divorce relative to the custody and possession of her child, Ralph Elsman, Jr., be changed so as to read as follows: "That the sole care, custody and control of the minor child of the parties, to-wit, Ralph Elsman, Jr., is hereby awarded to the defendant, the mother, Beatrice J. Elsman, and that she continue to have the same so long as the best interests of said minor child are subserved thereby."
The two motions were consolidated and came on for hearing before Hon. George A. Bartlett, presiding judge, on February 6, 1930; the first movant, Ralph Elsman, being given the opening. The hearing of the motion of *Page 390 
Ralph Elsman occupied the time of the court continuously, except for certain intervals, from February 6 to February 28, 1930.
In the midst of the hearing of the plaintiff's motion and when the evidence in support thereof in chief had practically been concluded, Beatrice Elsman, the opposing movant, on, to wit, February 24, 1930, filed in said court and cause a notice of motion and motion, supported by her own affidavit attached to, exhibited with, and made a part thereof, in which she prayed and sought an order changing the place of trial of said motions or that another judge be called in to hear and try the same, for the reasons and upon the grounds stated in her affidavit, which, omitting details, may be summarized as follows:
That Judge Bartlett, judge presiding, has been, and now is, upon terms of such close intimacy with and friendship for the plaintiff and his present wife that the affiant verily believes and states that she cannot have a fair and impartial trial of the pending issues; that, during the period of several years last preceding, Judge Bartlett had been a frequent visitor and guest at the home of the plaintiff in Franktown, Washoe County, Nevada; that a room was set apart in said Elsman home for the use of Judge Bartlett on the occasions of his frequent visits of such frequent occurrence that such room had come to be designated by the servants and members of the household as "Judge Bartlett's Room"; that Judge Bartlett was and still is a welcome guest at said Elsman home, and during said period Judge Bartlett made frequent visits to the plaintiff's home for horseback riding exercises; that, during the pendency of the hearing of the respective motions and within several years last past, the plaintiff has been a frequent visitor at the home of Judge Bartlett; that, owing to and as a result of the close association aforesaid, Judge Bartlett has unconsciously absorbed at least a portion of the ill feeling and resentment then and now entertained by said Ralph Elsman and his present wife toward the defendant; and that *Page 391 
as a result of said judge unconsciously sharing with the plaintiff and his wife the feeling, belief, and conviction held by plaintiff and his wife, as expressed by the plaintiff in his affidavit and testimony given upon the hearing herein, the defendant sold her right as a mother to have the custody of her child and that she had in fact utilized, and by her proceedings herein is now endeavoring to further utilize, said child as a means of coercing money from the plaintiff.
In her affidavit, it is further stated that on or about January 4, 1929, at the solicitation and request of plaintiff, consented to only in part by the defendant, certain records in the divorce action of Elsman v. Elsman, in the legal custody of the clerk of the respondent court, were ordered by Judge Bartlett, over the protest of said clerk, to be withdrawn so that certain matters therein contained of a scandalous nature and derogatory to the moral character of the plaintiff would not be retained upon the public records; that said records so withdrawn were subsequently destroyed.
In her affidavit she states that all the foregoing facts only recently came to the knowledge of affiant or her counsel of the destruction of the documents, files, and papers in said divorce action, except in the manner stated in the notice of motion; that the facts with reference to the alleged intimacy existing between Judge Bartlett, Ralph Elsman, and his wife, were first learned by defendant and her counsel on or about February 15, 1930. Affiant further states that her motion for a change of place of trial was not earlier filed or presented, because of herself and counsel being engaged in the trial and hearing of the respective motions, and that her motion for change of place of trial was filed and presented as soon as she and her counsel had obtained knowledge of certain matters respecting the bias and prejudice of the trial judge toward affiant.
Because of the foregoing facts, affiant prayed that a change of the place of the trial of said motions be ordered, or that a mistrial be declared, and another *Page 392 
judge be called in to hear and try the respective motions.
The time for hearing of the motion for a change of place of trial or to call in another judge was shortened by court order and came on for hearing on February 25, 1930. The attorneys for Ralph Elsman objected to the hearing or consideration of the motion upon two grounds, to wit: First, that the motion was not timely made; and, second, that it did not state facts sufficient to warrant the granting of the same in any event.
The objections stated were fully argued and upon argument were submitted to Judge Bartlett for ruling and decision. Thereupon Judge Bartlett announced his decision and ruling from the bench. A transcript of the stenographic report made of the court's ruling is incorporated in the record, from which it appears that the court stated, in substance, that he hardly deemed it proper to make a reply to the personal matters suggested in the arguments of counsel, but he felt that he should state that he had enjoyed the hospitality of Mr. Elsman's home occasionally, once in connection with a visit to Washoe Lake to look over the East ditch thereof in connection with certain contested water rights pending in his court, and three or four other times he had ridden horseback in company with Mr. Elsman, and when these proceedings are done, he hoped to have the pleasure of riding with Mr. Elsman again. By way of argument, he stated that he had enjoyed the hospitality of certain counsel of record in the case; that he did not feel or consider that either of counsel felt that a social obligation should be repayed by a judicial favor. He gave expression to his views on the personal side of the grounds of the motion to indicate to the parties that what happens on the other side of his court is one thing; "what happens when I am on this side of my court, facing lawyers and litigants, is an entirely different thing." He stated that he was not called upon to decide upon personal matters, but only to decide upon the law as he *Page 393 
sees it; that the motion made for a change of venue at the close of the moving party's case, after three weeks taking of testimony and counsel for the moving party announced the close on the opening, then the movant, Beatrice Elsman, filed her motion for a change of venue. In conclusion the court said: "It is then ordered, Miss Clerk, that the objection made by plaintiff to the consideration of defendant's motion for a change of venue, based upon the grounds set forth in the motion, be, and the said objection is sustained upon both grounds suggested by counsel for plaintiff; that it has been untimely made, that the facts supporting the motion made by Mrs. Beatrice Elsman are not sufficient, even taken as true, to justify the granting of a change of venue or calling in another judge. You may enter your exception."
Thereupon Beatrice Elsman moved the court for an order staying the trial of the action until the time to appeal, from the order refusing to change the place of trial, shall have lapsed, as provided in section 4 of the Statutes of 1913, at page 113, c. 91, amending section 387 of the civil practice act (Rev. Laws, sec. 5329), relative to appeals from an order granting or refusing to grant a motion to change the place of trial of an action. On, to wit, February 25, 1930, Judge Bartlett declined and refused to make an order for stay as aforesaid and ordered the parties to proceed with the hearing of their respective motions.
Thereafter, on, to wit, February 27, 1930, Beatrice Elsman filed her petition in this court for a writ of prohibition, with the result that a preliminary rule in prohibition issued, which, upon the foregoing statement of facts, it is now sought to make absolute.
Regard being had to the briefs of able counsel, and to the positions assumed and the arguments made therein, it is conceded that the merits or demerits of the petitioner's demand for a change of venue upon the ground of the bias and prejudice of the respondent judge is not involved in this proceeding and is not proposed for consideration. In short, it is insisted on behalf of *Page 394 
petitioner that she, having moved the trial court for a change of venue and her motion having been denied, she, relying upon her plain statutory right, comes to this court to safeguard and secure that right by the issuance from this court of a peremptory writ of prohibition, prohibiting the respondent judge from proceeding with the trial of the case until the time to appeal from the order denying petitioner's motion for a change of venue shall have lapsed.
1. An order granting or refusing a change of place of trial is an appealable order. Stats. 1913, p. 113, c. 91. Section 4 of the statute provides as follows: "If an order granting or refusing to grant a motion to change the place of trial of an action is not directly appealed from within the said sixty days, there shall be no appeal therefrom on appeal from the judgment in the case or otherwise, and on demand or motion of either party to an action the court or judge making the order changing or refusing to change the place of trial of an action shall make an order staying the trial of the action until the time to appeal from such order changing or refusing to change, shall have lapsed; or if an appeal from such order is taken until such appeal shall, in the appellate court, or in some other manner, be legally determined."
It is contended on behalf of the petitioner that, under the terms of the statute, it became and was the mandatory duty of the respondent judge to order a stay of the trial of the respective motions pending before him in the case of Elsman v. Elsman until the time to appeal from the order refusing a change had elapsed. By this contention counsel assume that an order refusing a change of venue upon the ground of the bias or prejudice of the judge is an appealable order within the meaning of the statute. If this assumption be held to be erroneous, it follows that the preliminary rule of prohibition issued herein should not be made absolute.
The question involves the construction, interpretation, and the application of the local law relating to change of venue or place of trial. If any distinction *Page 395 
is to be drawn at all in the law between the phrase "venue" and "place of trial," it is a purely arbitrary one. In this opinion the two phrases will be used as convenience suggests.
Nevada has no constitutional provisions relating to change of venue, other than that the legislature shall not pass local or special laws "providing for changing the venue in civil and criminal cases." Section 20, art. 4, of the Constitution.
2. At common law the bias and prejudice of the judge would not disqualify or incapacitate him to try a case. Allen v. Reilly, 15 Nev. 452; McCauley v. Weller, 12 Cal. 500; People v. Williams, 24 Cal. 31; Bulwer, etc., Co. v. Standard, etc., Co.,83 Cal. 613, 23 P. 1109; In Re Davis' Estate, 11 Mont. 1,27 P. 342.
3. According to the decided weight of authority, the bias and prejudice of the judge is not a ground for change of venue, unless expressly made so by statute. Allen v. Reilly, supra; Hyatt on Trials, secs. 185-380.
In the note to the annotated case of Day v. Day, 10 Ann. Cas. 265 (12 Idaho, 556, 85 P. 531), authorities in support of the proposition that the bias and prejudice of the judge is not a ground for change of venue, unless expressly made so by statute, are cited from the states of California, Colorado, Illinois, Indiana, Iowa, Kansas, Maryland, Michigan, Minnesota, Mississippi, Missouri, Montana, Nevada (Allen v. Reilly, supra), Pennsylvania, and Texas. In the annotator's introductory statement to the note, it is said that the rule laid down in the reported case (Day v. Day) that a party to an action is entitled to a change of venue on account of the bias or prejudice of the trial judge, though there is no statutory provision expressly stating such ground, is against the decided weight of authority in both civil and criminal actions. It is so stated in 27 R.C.L. 810, sec. 30. Consequently, as the right to a change of venue is purely statutory, unless it be invoked upon the terms and in the manner provided in the statute, it does not exist at all.
Counsel for petitioner take the position that an application for a change of venue, based upon an affidavit *Page 396 
alleging the bias or prejudice of the trial judge, is to deprive the judge of further power to proceed in the case, except to make a proper order transferring the case to another judge.
In support of this contention counsel cite and rely upon the provisions contained in section 5015 of the Revised Laws of Nevada, particularly subdivision 2 thereof, which section provides, inter alia, as follows:
"The court may, on motion, change the place of trial in the following cases:
"1. When the county designated in the complaint is not the proper county.
"2. When there is reason to believe that an impartial trial cannot be had therein.
"3. When the convenience of the witnesses and the ends of justice would be promoted by the change."
In Re Davis' Estate, supra, following Allen v. Reilly, supra, the Montana court held that bias or prejudice of the presiding judge is not a legal ground upon which a change of venue may be granted in a civil action, there being no statute expressly disqualifying a judge on that ground. It will be observed from the reported case that the same arguments were advanced there as here, that, in the construction of subdivision 2 of section 5015, principles of common justice should prevail, and that subdivision 2 is broad enough in scope and intent to include cases of bias and prejudice of the trial judge as a ground for change of the place of trial, or to call in another judge. It is insisted that any other construction would be tantamount to saying that a party shall try his case before a judge, notwithstanding he is so biased and prejudiced against him that a fair and impartial trial cannot be had. In response to the argument, the Montana court held that a statute authorizing a change of venue "when there is reason to believe that a fair and impartial trial cannot be had" does not include authority for the change for the bias or prejudice of the judge. It was argued in that case, as is argued here, that "when there is reason to believe that an impartial trial cannot be had" because of the bias *Page 397 
or prejudice of the judge it became and was the duty of the respondent judge, under subdivision 2 of the statute, to order a change of venue.
4. It must be apparent to the most casual investigator that changes of venue relate solely to changes of the place of trial and in no logical sense to a mere change of judges. Therefore, in the true sense in which we are here compelled to consider the statute, the phrase "place of trial" as used therein does not mean the judge or the court. "It is a misnomer to speak of a proceeding to change the trial judge in a case as a change of venue, which means a change in the place of trial." State ex rel. McAllister v. Slate, 278 Mo. 570, 214 S.W. 85, 8 A.L.R. 1226.
In most jurisdictions the bias and prejudice of the judge is expressly made by statute a ground for a change of venue, but not so in Nevada.
A brief recourse to the history of the law supports the view that subdivision 2, neither by interpretation or construction, includes cases of bias or prejudice of the judge as a ground for a change of place of trial. Little or no distinction is made between disqualification and bias or prejudice; but they are by no means the same thing, and the distinction is recognized in the legislation upon the subject in Nevada. The first legislation on the subject of the disqualification of judges occurred in 1865. Stats. 1865, p. 116, c. 19, sec. 45. This statute was amended in 1907 to read as follows: "A judge shall not act as such in an action or proceeding to which he is a party, or in which he is interested. Second, when he is related to either party by consanguinity or affinity within the third degree. Third, when he has been attorney or counsel for either party in the action or proceeding. Fourth, when he is related to any attorney or counselor, for either of the parties, by consanguinity or affinity within the fourth degree." Stats. 1907, p. 25, c. 11.
The statute was again amended in 1927 by adding thereto certain provisos, not material to be stated.
The statute relating to change of venue up to the year *Page 398 
1895 provided that such a change could be had, first, when the county designated in the complaint was not the proper county; second, when there was reason to believe that an impartial trial could not be had therein; third, when the convenience of witnesses and the ends of justice would be promoted by the change; and, fourth, when for any cause a judge was disqualifiedfrom acting in the action. In 1895 the statute was amended to read as follows: "When from any cause the judge is disqualified from acting in the action, except in any case when it shall appear by the affidavit of either party to the action, at any time before trial, that said party cannot, by reason of the interest, bias or prejudice of the judge have a fair and impartial trial, in which case the judge so designated in said affidavit shall not further preside in the case, but instead of ordering a change of place of trial to another county, may invite another judge to preside in, hear and decide said case." Stats. 1895, p. 64, c. 70.
In 1897 subdivision 4 of the statute quoted was made to read as follows: "When from any cause the judge is disqualified from acting in the action. When the place of trial is changed, all other proceedings shall be had in the county to which the place of trial is changed; unless otherwise provided by consent of the parties in writing duly filed, or by order of the court, and the papers shall be filed, or transferred, accordingly." Stats. 1897, p. 87, c. 73.
Section 73 of our present civil practice act adopted and approved by legislative enactment in 1912 provides, inter alia, as follows:
"The court may, on motion, change the place of trial in the following cases:
"1. When the county designated in the complaint is not the proper county.
"2. When there is reason to believe that an impartial trial cannot be had therein.
"3. When the convenience of the witnesses and the ends of justice would be promoted by the change. * * *" *Page 399 
 5-7. It is well settled that the repeal of a statute is either express or implied. An implied repeal takes place when a new law contains provisions contrary to those of the former law, without expressly repealing the same. It will be observed that the present civil practice act, as adopted and approved in 1912, relating to change of venue, omits from its provisions those contained in the prior statutes relating to the disqualification of a judge because of his interest, bias, or prejudice as a ground for change of place of trial or to invite in another judge to preside where the judge is disqualified. The omission from the present practice act of the prior provisions relating to the disqualification of judges evinces the legislative intention that the disqualification, bias, and prejudice of a judge should not be a ground for change of venue.
8. From the review of the authorities, the legislative history of the statute, and the statute itself, the deduction is clear that where, as in this state, there is no statute which authorizes a change of the place of trial for the bias or prejudice of the judge, we are compelled to conclude that the respondent court in refusing to make an order staying the trial or hearing of the motions in the case of Elsman v. Elsman, until the time to appeal from the order refusing a change of place of trial had elapsed, acted within and not in excess of its jurisdiction.
It follows, therefore, that the petition for the writ should be denied and the proceeding dismissed.
It is so ordered. *Page 400 